AO 245B (WDNC Rev. 4/09) Judgment in a Criminal Case



                                                  United States District Court
                                             For The Western District of North Carolina

UNITED STATES OF AMERICA                                                            JUDGM ENT IN A CRIM INAL CASE
                                                                            (For Offenses Com m itted On or After Novem ber 1, 1987)
          V.
                                                                            Case Num ber: DNCW 109CR000013-014
SULEMA VILLAGRANA LOPEZ
                                                                            USM Num ber: 22443-058
                                                                            Frank Abram s
                                                                            Defendant’s Attorney

THE DEFENDANT:

X         pleaded guilty to count(s) 1.
          Pleaded nolo contendere to count(s) which was accepted by the court.
          W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                           Date Offense
 Title and Section               Nature of Offense                                         Concluded                          Counts

 21:846, 841(a)(1)               Conspiracy to possess with intent to distribute cocaine   2/17/09                            1
                                 base, Sch. II



        The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

          The defendant has been found not guilty on count(s) .
X         Count(s) 2 (is)(are) is dism issed by the Court.

          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in
the defendant’s econom ic circum stances.

                                                                                   Date of Im position of Sentence: 8/24/09




                                                                                   Date:         August 25, 2009




                     Case 1:09-cr-00013-MR-WCM                Document 345          Filed 08/25/09        Page 1 of 6
AO 245B (WDNC Rev. 4/09) Judgment in a Criminal Case

Defendant: SULEMA VILLAGRANA LOPEZ                                                                                 Judgm ent-Page 2 of 5
Case Num ber: DNCW 109CR000013-014

                                                                 IM PRISONM ENT

          The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of 78
Months.


X   The Court m akes the following recom m endations to the Bureau of Prisons:
    That the defendant be required to support all dependants from prison earnings, as outlined in the presentence report.
    That the defendant be allowed to participate in any available substance abuse treatm ent program s available, as well as any
vocational or educational program s available.

X    The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

              At        On     .
              As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


              Before 2 pm on .
              As notified by the United States Marshal.
              As notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this Judgm ent as follows:




          Defendant delivered on                                         To

At                                                     , with a certified copy of this Judgm ent.


                                                                                         United States Marshal

                                                                                 By
                                                                                         Deputy Marshal




                    Case 1:09-cr-00013-MR-WCM                     Document 345           Filed 08/25/09     Page 2 of 6
AO 245B (WDNC Rev. 4/09) Judgment in a Criminal Case


Defendant: SULEMA VILLAGRANA LOPEZ                                                                                                         Judgm ent-Page 3 of 5
Case Num ber: DNCW 109CR000013-014

                                                                  SUPERVISED RELEASE

          Upon release from im prisonm ent, the defendant shall be on supervised release for a term of 5 Years. In accordance with
established procedures provided by the Immigration and Naturalization Act, 8 U.S.C. § 1101 et seq, the defendant, upon
release from imprisonment, is to be surrendered to a duly-authorized immigration official for deportation. As a condition
of supervised release, if ordered deported, the defendant shall remain outside the United States. Should deportation not
occur, the defendant shall report in person within 72 hours of release from the custody of the Bureau of Prisons or the
Immigrations and Customs Enforcement Agency to the probation office in the district to which he is released.
          The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
          risk of future substance abuse.

                                                     STANDARD CONDITIONS OF SUPERVISION

          The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.        The defendant shall not commit another federal, state, or local crime.
2.        The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.        The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the
          term of supervised release on a schedule to be established by the court.
4.        The defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.        The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.        The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
7.        The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete written
          report within the first five days of each month.
8.        A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
          from custody of the Bureau of Prisons.
 9.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.       The defendant shall support his or her dependents and meet other family responsibilities.
11.       The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
          the probation officer.
12.       The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.       The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or other
          controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.       The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer, until such
          time as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a drug test within 15 days
          of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions
          of 18:3563(a)(5) or 18:3583(d), respectively.
15.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.       The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
          granted permission to do so by the probation officer.
17.       The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer and such other
          law enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a search may be grounds for
          revocation of probation or supervised release. The defendant shall warn other residents or occupants that such premises or vehicle may be subject to
          searches pursuant to this condition.
18.       The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed by the probation officer.
19.       The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.       The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
          Court.
21.       As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal
          history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such notification
          requirement.
22.       If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in defendant’s economic
          circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.       If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the electronic
          monitoring or other location verification system program based upon your ability to pay as determined by the probation officer.
24.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:




                     Case 1:09-cr-00013-MR-WCM                           Document 345               Filed 08/25/09             Page 3 of 6
AO 245B (WDNC Rev. 4/09) Judgment in a Criminal Case


Defendant: SULEMA VILLAGRANA LOPEZ                                                                                    Judgm ent-Page 4 of 6
Case Num ber: DNCW 109CR000013-014

                                                       CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                ASSESSM ENT                                            FINE                                      RESTITUTION

                    $100.00                                            $0.00                                          $0.00



                                                                     FINE


         The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X             The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X             The interest requirem ent is waived.

              The interest requirem ent is m odified as follows:


                                                   COURT APPOINTED COUNSEL FEES

X             The defendant shall pay court appointed counsel fees.

              The defendant shall pay $                   Towards court appointed fees.




                    Case 1:09-cr-00013-MR-WCM                   Document 345         Filed 08/25/09        Page 4 of 6
AO 245B (WDNC Rev. 4/09) Judgment in a Criminal Case


Defendant: SULEMA VILLAGRANA LOPEZ                                                                                       Judgm ent-Page 5 of 6
Case Num ber: DNCW 109CR000013-014


                                                          SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

          A              Lum p sum paym ent of $               Due im m ediately, balance due

                         Not later than            , or
                         In accordance          (C),       (D) below; or

          B    X         Paym ent to begin im m ediately (m ay be com bined with          (C),     X (D) below); or

          C              Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $              To com m ence
                          (E.g. 30 or 60 days) after the date of this judgm ent; or

          D    X         Paym ent in equal Monthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To com m ence 60
                          (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire
                         am ount of crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the
                         U.S. Probation Officer shall pursue collection of the am ount due, and m ay request the court to establish or
                         m odify a paym ent schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

          The defendant shall pay the cost of prosecution.
          The defendant shall pay the following court costs:
          The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of im prisonm ent
paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty paym ents are
to be m ade to the United States District Court Clerk, 309 U.S. Courthouse, 100 Otis Street, Asheville, NC, 28801, except those
paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are
to be m ade as directed by the court.

The Defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                    Case 1:09-cr-00013-MR-WCM                   Document 345           Filed 08/25/09         Page 5 of 6
AO 245B (WDNC Rev. 4/09) Judgment in a Criminal Case


Defendant: SULEMA VILLAGRANA LOPEZ                                                                                Judgm ent-Page 6 of 6
Case Num ber: DNCW 109CR000013-014

                                                  STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2) extend the
term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance, possession
of a firearm and/or am m unition, and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)     ____________________________________ Date: _________________
           Defendant

(Signed)     ____________________________________ Date: _________________
           U.S. Probation Office/Designated W itness




                    Case 1:09-cr-00013-MR-WCM               Document 345          Filed 08/25/09        Page 6 of 6
